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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

RAY A. FOX,

                Plaintiff,
                                                         No. 12 CV 8740
           v.
                                                         Judge Manish S. Shah
ADMIRAL INSURANCE CO.,

                Defendant.

                             MEMORANDUM OPINION AND ORDER

         Admiral moves for reconsideration of the memorandum opinion and order,

[153],1 denying the parties’ cross-motions for summary judgment. The parties also

briefed the issue of whether Fox has the right to a jury trial on the reasonableness

of his settlement with Wexford. The motion to reconsider, [156], is granted in part

with certain clarifications to the opinion described below, and Fox has the right to a

jury trial on the reasonableness of the Wexford settlement.

I.       Motion for Reconsideration

         The background of this case and the claims argued in the parties’ cross-

motions for summary judgment are described in the summary judgment opinion,

[153], and need not be repeated here. Admiral moves for reconsideration on three

specific issues addressed in the summary judgment opinion, arguing that the

opinion was manifestly erroneous in: (1) comparing the allegations of the underlying

complaint to the terms of the insurance policies to determine Admiral’s duty to

1   Bracketed numbers refer to entries on the district court docket.
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indemnify, (2) finding that Admiral committed anticipatory breach of its duty to

defend through its pretrial refusal to defend Wexford for post-trial activities, and (3)

holding that Admiral is not entitled to a setoff because—in the context of the Illinois

Joint Tortfeasor Contribution Act, 740 ILCS 100/2, and Illinois’s double recovery

rule—Wexford’s negotiated consent judgment was a settlement and not an adverse

judgment on the merits. Admiral contends that these determinations were both

incorrectly decided and decided by the court sua sponte.

        A.    Legal Standard2

        “Reconsideration is not an appropriate forum for rehashing previously

rejected arguments or arguing matters that could have been heard during the

pendency of the previous motion.” Caisse Nationale de Credit Agricole v. CBI Indus.,

Inc., 90 F.3d 1264, 1270 (7th Cir. 1996). Instead, “[m]otions for reconsideration

serve a limited function: to correct manifest errors of law or fact or to present newly

discovered evidence.” Id. at 1269. A “manifest error” occurs when “the Court has

patently misunderstood a party, or has made a decision outside the adversarial

issues presented to the Court by the parties, or has made an error not of reasoning


2 Admiral cites to Federal Rule of Civil Procedure Rule 59(e) for its motion to reconsider,
but Admiral’s motion for reconsideration is governed under Rule 54(b) because the
summary judgment ruling did not adjudicate all claims and final judgment has not been
entered. See, e.g., Selective Ins. Co. of S. Carolina v. City of Paris, 769 F.3d 501, 506–07 (7th
Cir. 2014) (Rule 54(b) applies to judgments which do not adjudicate all claims, but if final
judgment on all claims has been entered, the only avenues of relief are Rules 59(e) and
60(b)). The analysis for a motion to reconsider is the same under either rule, however. See,
e.g., Rothwell Cotton Co. v. Rosenthal & Co., 827 F.2d 246, 251 (7th Cir. 1987) (motion for
reconsideration prior to entry of final judgment serves limited function of correcting
manifest errors of law or fact or to present newly discovered evidence, but not to present
new legal theories).


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but of apprehension.” Bank of Waunakee v. Rochester Cheese Sales, Inc., 906 F.2d

1185, 1191 (7th Cir. 1990). Issues appropriate for reconsideration “rarely arise and

the motion to reconsider should be equally rare.” Id.

      When parties have an opportunity to respond to legal issues raised at

summary judgment, subsequent rulings on those issues are not sua sponte. See, e.g.,

Acequia, Inc. v. Prudential Ins. Co. of Am., 226 F.3d 798, 807–08 (7th Cir. 2000)

(grant of summary judgment on seven claims for which the movant did not

explicitly request relief was not sua sponte where non-movant had proper notice

that the court was being asked to consider an accounting issue indirectly dispositive

of those other claims). Admiral acknowledges that the parties’ cross-motions for

summary judgment raised the issues of indemnification, the duty to defend, and

setoff, [156] at 2, but asserts that the parties only addressed these issues generally

or in certain aspects, and that the opinion included legal reasoning outside the

scope of the specific arguments presented by the parties. Not so. The parties’

lengthy cross-motions for summary judgment raised many issues, and the summary

judgment rulings on indemnification, the duty to defend, and setoff were well within

“the adversarial issues presented to the Court by the parties.” Bank of Waunakee,

906 F.2d at 1191. In addition, both parties declined to file reply briefs. [147].

Arguments that could have been raised in such a reply do not merit reconsideration.

See Caisse Nationale, 90 F.3d at 1270.

      B.     Indemnification

      In the cross-motions for summary judgment, Fox sought to recover the

remaining limits of insurance that he asserted were available to Wexford under the
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policies, while Admiral argued that its $3 million settlement payment on behalf of

Wexford’s employees exhausted Admiral’s duty to indemnify. The summary

judgment opinion construed the 2006–2007 and 2007–2008 insurance policies and

compared them with the allegations of Fox’s underlying complaint to determine

whether any coverage remained, and therefore whether Admiral’s duty to indemnify

might extend beyond its earlier $3 million settlement. The opinion held that Fox’s

Monell claim against Wexford fell under personal injury liability coverage B for both

policy years and that Admiral had waived its ability to assert non-coverage for

2007–2008 professional services liability coverage (coverage D)—meaning that

Wexford had $6 million remaining in coverage. [153] at 13–27. The opinion further

held, however, that Fox could not collect from Admiral without establishing that

Wexford’s settlement with Fox was reasonable—a determination which requires

Fox to prove at trial that the settlement was made in “reasonable anticipation of

liability.” United States Gypsum Co. v. Admiral Ins. Co., 268 Ill.App.3d 598, 625

(1st Dist. 1994). Admiral insists that the analysis comparing the underlying

complaint to the insurance policies was raised sua sponte by the court and that

Admiral’s duty to indemnify should have been determined by comparing the

insurance policies to the “actual facts.” According to Admiral, these “actual facts”

undisputedly establish that no other coverage was triggered by Fox’s underlying

lawsuit.

      The scope of Admiral’s duty to indemnify—couched by Fox in terms of

garnishment and remaining limits of coverage, and by Admiral in terms of policy



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defenses and exhaustion of coverage—was at the heart of the parties’ cross-motions

to dismiss. Determining parties’ rights and duties under the insurance policies are

questions of law. See Crum & Forster Managers Corp. v. Resolution Trust Corp., 156

Ill.2d 384, 391 (1993) (“The construction of an insurance policy and a determination

of the rights and obligations thereunder are questions of law for the court which are

appropriate subjects for disposition by way of summary judgment.”). District courts

are not restricted to the case law identified by parties, and so it was not a manifest

error to cite applicable law not specifically identified in the parties’ cross-motions

for summary judgment.

      As Admiral correctly points out, an insurer’s duties to defend and to

indemnify are separate and distinct. The duty to indemnify is narrower than the

duty to defend. Outboard Marine Corp. v. Liberty Mut. Ins. Co., 154 Ill.2d 90, 127

(1992). The duty to defend arises when allegations in the underlying complaint fall

potentially within coverage. Id. at 125. In contrast, the duty to indemnify “is only

ripe for consideration if the insured has already incurred liability in the underlying

claim against it”—i.e., through judgment or settlement—and “arises if the insured’s

activity and the resulting loss or damage actually fall within the [omitted] policy’s

coverage.” Id. at 127–28 (emphasis in original). According to Admiral, by comparing

the insurance policies to the underlying complaint, I mistakenly applied the

analysis for determining the duty to defend, not the analysis for determining the

duty to indemnify. Instead, Admiral would have Fox prove Wexford’s liability under

the “actual facts” in the underlying case in order to be indemnified by Admiral. But



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Illinois courts apply a slightly different analysis to determine the duty to indemnify

when the insured settles prior to trial, since no “actual facts” have been determined

at a trial.

       Illinois law holds that “[i]n order to recover a settlement, the insured need

not establish actual liability to the party with whom it has settled so long as a

potential liability on the facts known to the [insured is] shown to exist, culminating

in an amount reasonable in view of the size of possible recovery and degree of

probability of claimants success against the [insured].” Federal Ins. Co. v. Binney &

Smith, Inc., 393 Ill.App.3d 277, 282 (1st Dist. 2009) (quoting in part U.S. Gypsum,

268 Ill.App.3d at 625–26 (internal marks omitted)); see also Santa’s Best Craft, LLC

v. St. Paul Fire & Marine Ins. Co., 611 F.3d 339, 351–52 (7th Cir. 2010) (“Consistent

with the Illinois policy that a coverage action should not require the insureds to

conclusively establish their own liability in the interest of promoting settlement, we

think the proper inquiry is whether the claims were not even potentially covered by

the insurance policy.”). Essentially, “[i]f an insured settles an underlying claim prior

to verdict, it must show that it settled an otherwise covered loss in ‘reasonable

anticipation of liability,’” Federal Ins., 393 Ill.App.3d at 282 (quoting U.S. Gypsum,

268 Ill.App.3d at 625), but need not prove actual liability.

       To clarify, Fox (as Wexford’s assignee) is not entitled to indemnification from

Admiral for the Fox-Wexford settlement solely on the basis of Fox’s complaint,

without having to prove anything else. Fox’s claims, as alleged, fell within

additional provisions in the policies, meaning that the policy limits had not been



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exhausted and that Admiral had the duty to indemnify Fox for that remaining

coverage if Fox proved that the Wexford settlement was reached in “reasonable

anticipation of liability.” It would have been clearer to say that, based on the

construction of the policies and Fox’s allegations, Fox’s claims against Wexford were

not excluded from personal injury coverage B for both policy years or from

professional services coverage D for 2007–2008, but that Fox cannot recover from

Admiral until he proves reasonable anticipation of liability. Whether Wexford

reasonably anticipated liability was and is sufficiently disputed to preclude both

motions summary judgment. There is evidence in the record to suggest that

Wexford was concerned about the viability of its defense and believed its chance of

success was less than 50%. See [153] at 35. In its motion for reconsideration,

Admiral repeats the same, largely disputed, facts about whether Wexford would

have prevailed, but I did not misapprehend Admiral’s point. Summary judgment

was properly denied because the prospect of liability cannot be resolved as a matter

of law.3

        Because the contours of Wexford’s insurance coverage were contested

between the parties and were ripe for disposition at summary judgment, the

summary judgment opinion addressed whether Fox’s underlying claims, as alleged,

fell within the disputed coverage provisions. This was important to determining

3 Admiral repeats its argument that professional services coverage D could not apply to
Fox’s underlying complaint because there was no medical malpractice claim, but Admiral
does not seek reconsideration of the ruling that this policy defense was waived when
Admiral continued to defend under that coverage provision after it was clear that Fox was
not asserting a malpractice claim. [153] at 16–18. Admiral is not entitled to reconsideration
of the summary judgment ruling on waiver of defenses to professional services coverage D.


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whether any coverage even remained available to Wexford or if the coverage limits

were indeed exhausted by Admiral’s $3 million settlement on behalf of Wexford’s

employees. See, e.g., Crum & Forster, 156 Ill.2d at 391 (“The construction of an

insurance policy and a determination of the rights and obligations thereunder are

questions of law for the court which are appropriate subjects for disposition by way

of summary judgment.”).

      Admiral is correct that National American Insurance Co. v. Artisan &

Truckers Casualty Co., 796 F.3d 717 (7th Cir. 2015) analyzes the duty to defend, not

the duty to indemnify, and therefore should not have been cited for the proposition

that the pleadings determine the duty to indemnify. This mistake on my part,

however, was not the “wholesale disregard, misapplication, or failure to recognize

controlling precedent” required to show a manifest error of law requiring

reconsideration. Oto v. Metro. Life Ins. Co., 224 F.3d 601, 606 (7th Cir. 2000).

Because, as made clear in this opinion, Admiral is not required to indemnify Fox

unless Fox proves a “reasonable anticipation of liability,” the denial of summary

judgment comported with the established rule that the “duty to indemnify is

determined once liability has been affixed.” Artisan & Truckers, 796 F.3d at 724.

      Under Illinois law, when an insured settles before trial, comparing the

underlying complaint allegations to insurance policies is appropriate for

determining whether particular claims are covered. See Maryland Cas. Co. v. Dough

Mgmt. Co., 2015 IL App (1st) 141520, ¶¶ 49–53 (determining that insurer had no

duty to indemnify insured’s pretrial settlement by comparing allegations of



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underlying complaint to insurance policy and finding the claims excluded from

coverage); Universal Underwriters Ins. Co. v. LKQ Smart Parts, Inc., 2011 IL App

(1st) 101723, ¶¶ 51–59 (granting summary judgment in favor of insured on insurer’s

duty to indemnify because insurance policy covered claim in underlying complaint;

determination of whether insured settled for a reasonable amount in reasonable

anticipation of liability was to be made by trial court on remand); see also Rosalind

Franklin Univ. of Med. & Sci. v. Lexington Ins. Co., 2014 IL App (1st) 113755, ¶¶

81–91 (where settlement for both covered and non-covered claims was undisputedly

made in anticipation of liability, the appellate court compared the underlying

complaint allegations to the insurance policy to determine whether covered claims

were the “primary focus” of the underlying complaint); Am. Home Assur. Co. v.

Dykema, Gossett, Spencer, Goodnow & Trigg, 811 F.2d 1077, 1083–85 (7th Cir.

1987) (the “first inquiry” for determining insurer’s duty to indemnify insured’s

settlement was to determine whether the underlying claims were covered by the

insurance policy; “[b]ecause the case was settled before trial, [the complaint’s]

allegations are accepted as true for purposes of determining insurance coverage”)

(applying Michigan law).

      While the summary judgment opinion may have over-emphasized the

pleadings, my intent was to decide the legal questions about the scope of coverage

for purposes of the duty to indemnify, and on those questions, Admiral has not

demonstrated a manifest error of law or fact warranting reconsideration.




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      C.     Anticipatory Breach

      Fox’s summary judgment motion maintained that Admiral repudiated its

duty to defend by its pretrial refusal to defend Wexford for post-trial activities. [130]

at 29–30. Responding only briefly to Fox’s argument, Admiral stated that it had

ceased defending Wexford upon exhaustion of coverage; Admiral provided no

alternative argument in case coverage was not exhausted. [140] at 15–16. Now,

after the summary judgment opinion held that there was remaining coverage

available to Wexford, Admiral argues that the issue of anticipatory breach was

raised sua sponte and decided incorrectly. Neither party’s summary judgment briefs

nor the summary judgment opinion used the specific phrase “anticipatory breach,”

but Fox’s motion for summary judgment was based on that idea—namely, that by

announcing a refusal to defend when coverage was not exhausted, Admiral

announced a planned breach. The issue was not raised sua sponte or “outside the

adversarial issues presented to the Court” in the parties’ cross-motions for summary

judgment. Bank of Waunakee, 906 F.2d at 1191.

      Admiral raises several arguments for why the ruling on anticipatory breach

was a manifest error of law: (1) anticipatory breach is legally distinct from breach of

contract, (2) Wexford’s need for a post-trial defense was a contingent event, and (3)

Wexford did not establish damages for anticipatory breach. All of these arguments

could have been raised by Admiral in opposition to Fox’s summary judgment

motion, however, and “a motion for reconsideration is an improper vehicle . . . to

tender new legal theories.” Bally Exp. Corp. v. Balicar, Ltd., 804 F.2d 398, 404 (7th



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Cir. 1986). For this reason, Admiral’s motion to reconsider the anticipatory breach

ruling is denied.

      In addition, addressing Admiral’s new arguments on their merits, there was

no manifest error of law in holding that Admiral’s unequivocal refusal to defend

Wexford for any post-trial activity was an anticipatory repudiation of its duty to

defend. Despite asserting that breach of contract and anticipatory breach of the

duty to defend are distinct doctrines, and that the opinion erred by not citing cases

specific to anticipatory breach of the duty to defend, Admiral has not identified any

legal elements specific to anticipatory breach that would change the outcome. The

cases explain that “for there to be an anticipatory breach, the law requires that

there be a positive and unequivocal manifestation of a party’s intent not to render

the performance promised under the contract when the time fixed in the contract

arrives.” Bituminous Cas. Corp. v. Commercial Union Ins. Co., 273 Ill.App.3d 923,

930 (1st Dist. 1995); Busse v. Paul Revere Life Ins. Co., 341 Ill.App.3d 589, 594, (1st

Dist. 2003) (“In Illinois, anticipatory repudiation is actionable as a breach of

contract when—and only when—the repudiating party unequivocally and without

justification renounces its duty to perform the contract on its date of performance.”)

(quotation marks omitted); Pope ex rel. Pope v. Econ. Fire & Cas. Co., 335 Ill.App.3d

41, 46 (1st Dist. 2002) (“An anticipatory repudiation has been defined as a

manifestation by one party to a contract of an intent not to perform its contractual

duty when the time fixed in the contract has arrived. The party’s manifestation




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must clearly and unequivocally be that it will not render the promised performance

when it becomes due.”) (citations omitted).

      These elements for anticipatory breach were met on the undisputed facts.

Admiral does not dispute that it unequivocally refused to defend Wexford for post-

trial activities. As an insurer with the duty to defend, Admiral had a duty to pursue

post-trial remedies “in circumstances where reasonable grounds are present.” Ill.

Founders Ins. Co. v. Guidish, 248 Ill.App.3d 116, 122 (1st Dist. 1993); see also

Valley Forge Ins. Co. v. Swiderski Elecs., Inc., 359 Ill.App.3d 872, 891 (2d Dist.

2005) (insurer remained obligated to defend insured, even during pendency of

declaratory judgment appeal regarding its duty to defend, “so long as there

remained any question as to whether the underlying claims were covered by the

policy”) (emphasis in original), aff’d, 223 Ill.2d 352 (2006). Admiral’s statement that

it would not defend Wexford post-trial was a “positive and unequivocal”

manifestation of its intent not to perform its contractual duty when the time

arrived, and therefore was an anticipatory breach of its duty to defend, even under

Admiral’s cited case law.

      Citing mainly to Pope ex rel. Pope v. Economy Fire & Casualty Co., 335

Ill.App.3d 41 (1st Dist. 2002), Admiral contends that its post-trial duty to defend

was dependent on the need for any post-trial activity, which was a contingent event.

Since Wexford settled before trial, Admiral argues that Fox cannot show that

Wexford would have even needed a post-trial defense. This reads Pope too broadly.

Pope merely held that even in cases of anticipatory breach, the insured must show



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that it was ready and willing to perform conditions precedent. The insured in Pope

was sued by a tenant for lead paint, but the insurer refused to defend under an

insurance policy with a lead paint exclusion. There was no anticipatory breach

because the insured could not establish the potential for coverage, which was a

condition precedent to the duty to defend, and because a second insurer fully

defended the case, so the insured could not establish damages. 335 Ill.App.3d at 48;

see Yale Dev. Co. v. Aurora Pizza Hut, Inc., 95 Ill.App.3d 523, 527 (2d Dist. 1981)

(relied on by Pope; holding that a party suing for anticipatory breach “must show an

ability and willingness to perform his part of the contract”). Wexford’s situation

differs from Pope. The occurrence of post-trial activity—while “contingent” in the

sense of being a “future” event—was not a condition precedent that Wexford needed

to perform under its insurance policy in order to obligate Admiral’s defense against

Fox’s lawsuit. See, e.g., Midwest Builder Distrib., Inc. v. Lord & Essex, Inc., 383

Ill.App.3d 645, 668 (1st Dist. 2007) (“A condition precedent is defined as a condition

in which performance by one party is required before the other party is obligated to

perform.”) (emphasis added).

      Admiral also argues that because Wexford settled, the lack of post-trial

activity excuses its anticipatory breach and means that Fox cannot show that

Wexford was damaged because it was never left without a defense. But the lack of

post-trial activity resulted from Wexford’s chosen remedy for the breach—i.e., a

settlement with Fox—and does not excuse Admiral’s breach. A non-repudiating

party “may elect to treat the repudiation as a breach putting an end to the contract”



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and may change its position in reliance on the repudiation. Bituminous Cas., 273

Ill.App.3d at 930; see also Yale Dev., 95 Ill.App.3d at 527 (anticipatory breach

requires proof of readiness to perform conditions precedent, but “may excuse one

from performing a useless act”). And unlike in Pope, where the insured was fully

defended by another insurer, Wexford would have been left without a defense after

trial if it had not settled. In the insurance context, “[t]he measure of damages for

such a breach [of the duty to defend] is generally the amount of the judgment

against the insured or of a reasonable settlement, plus any expenses incurred.” U.S.

Gypsum, 268 Ill.App.3d at 621 (quoting Thornton v. Paul, 74 Ill.2d 132, 144–45

(1979)). Fox (as Wexford’s assignee) is endeavoring to prove that its settlement was

reasonable. If so, those are its damages for the breach of the duty to defend.

        There was no manifest error of law or fact in the ruling concerning the duty

to defend.

        D.     Setoff

        Admiral moved for a setoff under the Illinois double recovery rule and the

Joint Tortfeasor Contribution Act, 740 ILCS 100/2, following the analysis applied in

the underlying litigation by Judge Holderman, who ruled on a separate defendant’s

setoff request. Admiral wanted to set off from Wexford’s $14 million consent

judgment the settlement amounts that Fox had collected in the underlying

litigation.4 [114] at 4–8. Because these other settlements total over $15 million, a


4 Specifically, those settlements were Admiral’s $3 million payment to Fox on behalf of
Wexford’s employees, and the Illinois Department of Corrections’ $12.43 million post-trial
settlement with Fox.


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setoff of this magnitude would prevent Admiral from having to pay any portion of

the $14 million Wexford consent judgment. Fox opposed a setoff, arguing that: (1)

the setoff doctrine only “protects nonsettling tortfeasors” by crediting the amount of

other tortfeasors’ earlier settlements against a later judgment against the

nonsettling tortfeasor, (2) neither Admiral nor Wexford was a nonsettling

tortfeasor, and (3) the policy of preventing plaintiffs from receiving a double

recovery was not implicated by settlements. [143] at 5, 10–14 (emphasis in original).

The summary judgment opinion held that the Contribution Act allows a nonsettling

defendant (i.e., a defendant who becomes liable after an adverse judgment) to claim

setoff amounts for prior settlements between the plaintiff and settling defendants.

[153] at 40–41; see Pasquale v. Speed Prods. Eng’g, 166 Ill.2d 337, 368–69 (1995)

(the Contribution Act applies to “a nonsettling tortfeasor”). Applying this reading of

the Contribution Act to the circumstances of this case, the opinion further held that

neither Wexford nor Admiral were entitled to a setoff because the $14 million

Wexford consent judgment was not an “adverse” judgment on the merits but rather

the court-ordered embodiment of Wexford’s settlement agreement. [153] at 40–41.

      In its motion for reconsideration, Admiral argues that the idea of the consent

judgment being a settlement and not an “adverse” judgment on the merits was a

manifestly erroneous, sua sponte ruling. While the specific issue of whether a

consent judgment is an “adverse” judgment for the purposes of the Contribution Act

was not briefed by the parties, that statement was merely a side point and the

logical corollary to Fox’s briefed arguments (and the opinion’s overall ruling) that



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the setoff doctrine only protects nonsettling tortfeasors and that neither Admiral

nor Wexford was a nonsettling defendant with the right to a setoff. After

relinquishing its opportunity to reply to Fox’s arguments, raising these arguments

on reconsideration is not appropriate. See, e.g., Bally Exp., 804 F.2d at 404 (“[A]

motion for reconsideration is an improper vehicle . . . to tender new legal theories.”).

        Considered on their merits, Admiral’s arguments do not demonstrate a

manifest error of law requiring reconsideration. The summary judgment opinion did

not state that consent judgments are not “real” or “true” judgments but merely

recognized the duality of consent judgments as enforceable court orders that

embody private settlement agreements. The case law cited by Admiral does not

contradict this view, and even reaffirms it.5 See, e.g., Rufo v. Inmates of Suffolk Cty.

Jail, 502 U.S. 367, 378 (1992) (“A consent decree no doubt embodies an agreement

of the parties and thus in some respects is contractual in nature.”). Other cases

cited by Admiral merely reaffirm the enforceable nature of consent judgments, but

Admiral cites no case suggesting that a settling defendant, by agreeing to a consent

judgment, is transformed into a nonsettling tortfeasor for the purpose of the




5Admiral’s summary judgment and motion to reconsider arguments also reflect the unique
dual nature of consent judgments. On the one hand, Admiral argues that the Wexford
consent judgment should be treated as an enforceable, non-negotiated judgment for the
purpose of setoff under the Contribution Act; on the other hand, Admiral argues that the
consent judgment should be considered a non-enforceable, collusive settlement negotiated
between Fox and Wexford that did not reflect the merits of the case.


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Contribution Act. Admiral does not dispute that Wexford was a settling defendant

or that the Contribution Act applies only to nonsettling tortfeasors.6

        Admiral repeats unsuccessful arguments about the applicability of the double

recovery rule to consent judgments embodying negotiated settlement agreements.

Insisting that the cited case law in the summary judgment opinion only shows that

“contractual” settlements do not implicate the double recovery rule, Admiral finds

fault with the opinion for not citing a case that, it believes, explicitly states that

consent judgment settlements do not implicate the double recovery rule. In addition

to the reasons previously explained in the summary judgment ruling, it has long

been settled in Illinois that negotiated consent judgments, like other settlements, do

not implicate the double recovery rule:

        Such judgments are uniformly understood to merely record a
        settlement or agreement between the parties. They are not a judicial
        determination of the rights of the parties or the issues involved in
        litigation. There having been no adjudication of rights and issues in
        [plaintiff’s] action against the third party, it is as if settlement without
        suit had been effected. Under such circumstances, no inferences as to
        [defendant’s] freedom from negligence can be legally drawn. Nor has
        there been a recovery in the eyes of the law which, coupled with the
        compensation award, would result in a “double satisfaction for the
        same wrong.”

Prill v. Ill. State Motor Serv., Inc., 16 Ill.App.2d 202, 207–08 (4th Dist. 1958)

(citations omitted); see also Blanski v. Aetna Cas. & Sur. Co., 287 F.2d 113, 116 (7th




6 Admiral also does not dispute that the Contribution Act only applies to prior settlements.
The $12.43 million settlement (between Fox and IDOC on behalf of its employee found
liable at trial) occurred after the Wexford consent judgment.


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Cir. 1961) (quoting Prill to hold that an employer’s insurer was not entitled to a lien

against an injured employee’s settlement with alleged third-party tortfeasors).

      There was no manifest error in holding that Admiral is not entitled to a setoff

under either the Contribution Act or the Illinois double recovery rule.

II.   Right to a Jury Trial

      Fox’s complaint includes a jury demand on all issues. [38] at 17. The parties

were invited to submit briefs on whether the reasonableness of the underlying Fox-

Wexford settlement should be decided by a judge or jury. In Illinois courts, this

issue is typically resolved at a reasonableness hearing before a judge. See, e.g.,

Guillen ex rel. Guillen v. Potomac Ins. Co. of Ill., 203 Ill.2d 141, 164 (2003)

(remanding to circuit court to consider whether decision to settle and amount of

damages were reasonable); Stonecrafters, Inc. v. Wholesale Life Ins. Brokerage, Inc.,

393 Ill.App.3d 951, 966 (2d Dist. 2009) (determining settlement reasonableness

would require “a hearing for the trial court”). Fox contends that determining

settlement reasonableness simply establishes the damages that Fox may recover on

his claims for breach of contract and bad faith failure to settle, and is triable to a

jury as an action at law seeking a legal remedy. Admiral maintains that there is no

right to a jury trial because assessing whether a settlement is unreasonable,

collusive, or fraudulent is an equitable issue and is a remedy analogous to a good

faith finding under the Illinois Joint Tortfeasor Contribution Act.

      A.     Legal Standard

      Even when a district court is applying the substantive law of a state, federal

procedural law controls the question of whether there is a right to a jury trial. Int’l

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Fin. Servs. Corp. v. Chromas Techs. Can., Inc., 356 F.3d 731, 735 (7th Cir. 2004)

(citing Simler v. Conner, 372 U.S. 221, 222 (1963)). Under Federal Rule of Civil

Procedure 38(a), there is a right to a jury trial where required by the Seventh

Amendment or a federal statute. Int’l Fin., 356 F.3d at 735. The Seventh

Amendment limits the right to a jury trial to “[s]uits at common law, where the

value in controversy shall exceed twenty dollars.” Id.

      Courts engage in a two-step analysis to determine the right to a jury trial

under the Seventh Amendment. First, courts must “compare the . . . action to 18th-

century actions brought in the courts of England prior to the merger of the courts of

law and equity. Second, we examine the remedy sought and determine whether it is

legal or equitable in nature.” Id. at 735 (quoting Tull v. United States, 481 U.S. 412,

417–18 (1987)). The latter inquiry, into the nature of the remedy, is more important

than the historical comparison. Id. at 735–36 (citing Granfinanciera S.A. v.

Nordberg, 492 U.S. 33, 42 (1989)).

      B.     Historical Comparison

      As Wexford’s assignee, Fox stands in Wexford’s shoes and asserts Wexford’s

rights and interests against Admiral. Under Illinois law, insureds may enter into

reasonable settlements with a third-party when the insurer breaches its obligations.

Fox asserts two different theories to hold Admiral to the Wexford settlement: (1)

breach of the insurance contract (through Admiral’s announced breach of the duty

to defend, leading Wexford to settle with Fox), and (2) breach of Admiral’s duty to

act in good faith in responding to settlement offers. Compared to historical pre-

merger actions, these claims are actions at law seeking legal relief.
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       The breach of the duty to defend is a breach of contract and thus historically

an action at law. Illinois courts treat the insured’s third-party settlement as

damages for breach of contract: “[w]hen the insurer wrongfully refuses to defend a

complaint that alleges facts within coverage, it is liable for breach of contract. The

measure of damages for such a breach is generally the amount of the judgment

against the insured or of a reasonable settlement, plus any expenses incurred.” U.S.

Gypsum, 268 Ill.App.3d at 621 (quoting Thornton, 74 Ill.2d at 144–45); see Kinnan

v. Charles B. Hurst Co., 317 Ill. 251, 256–60 (1925) (insurer who breached duty to

defend became liable for settlement entered into by insured); Guillen ex rel. Guillen

v. Potomac Ins. Co. of Ill., 323 Ill.App.3d 121, 132 (1st Dist. 2001) (measure of

damages for breach of duty to defend is the amount of judgment or a reasonable

settlement) (citing Kinnan, 317 Ill. at 256–60), aff’d as modified and remanded, 203

Ill.2d 14 (2003).

       The breach of the duty to settle in good faith is a tort. Chandler v. Am. Fire &

Cas. Co., 377 Ill.App.3d 253, 257 (4th Dist. 2007); see Iowa Physicians’ Clinic Med.

Found. v. Physicians Ins. Co. of Wis., 547 F.3d 810, 812 (7th Cir. 2008) (“This duty

is a narrow exception to the Illinois courts’ otherwise steadfast refusal to recognize

an independent tort arising from the breach of this contractual covenant [of good

faith and fair dealing implied in an insurance contract].”). Tort claims were

typically actions at law. See, e.g., Ross v. Bernhard, 396 U.S. 531, 542 (1970)

(allegations of breach of contract and gross negligence raised legal claims); see also

City of Monterey v. Del Monte Dunes at Monterey, Ltd., 526 U.S. 687, 709 (1999) (“It



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is settled law, however, that the Seventh Amendment jury guarantee extends to

statutory claims unknown to the common law, so long as the claims can be said to

‘soun[d] basically in tort,’ and seek legal relief.”); Curtis v. Loether, 415 U.S. 189,

195 (1974) (“A damages action under the [Civil Rights Act] sounds basically in

tort—the statute merely defines a new legal duty, and authorizes the courts to

compensate a plaintiff for the injury caused by the defendant’s wrongful breach. As

the Court of Appeals noted, this cause of action is analogous to a number of tort

actions recognized at common law.”). When an insurer breaches the duty to settle,

the insured may seek recovery for a reasonable settlement reached with the third-

party or for an excess judgment entered against the insured—these are the

insured’s damages for the breach. See SwedishAmerican Hosp. Ass’n of Rockford v.

Ill. State Med. Inter-Ins. Exch., 395 Ill.App.3d 80, 103 (2d Dist. 2009) (excess

judgment constitutes damage for breach of the duty to settle; insured may also

effect a reasonable settlement).

      Based on how Illinois courts describe these types of claims, the issues for trial

are more in the nature of determining damages for breach of the insurer’s

obligations and are analogous to pre-merger actions at law.

      C.     Remedy

      The nature of the remedy sought—whether it is legal or equitable—is more

important than the historical comparison to pre-merger actions. Int’l Fin., 356 F.3d

at 735–36 (citing Granfinanciera, 492 U.S. at 42). The remedy sought by Fox, as

Wexford’s assignee, is to hold an insurer who breached its duty to defend (or duty to

settle) to the insured’s third-party settlement, if that settlement is reasonable and
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non-collusive. At first blush, it would appear that compelling a party to pay on the

terms of an agreement to which it was not a signatory would be an equitable

remedy. But with a closer look at the distinctions between legal and equitable relief,

this is more similar to legal relief than equitable relief.

      There is no cut-and-dried rule for determining whether a remedy is legal or

equitable in nature, but there are general distinctions between the two forms of

relief. Int’l Fin., 356 F.3d at 736. One main distinction is that legal remedies

traditionally involve money damages. Id. In contrast, equitable remedies are

typically “coercive” and enforceable directly on the person or thing to which they are

directed (e.g., an injunction, an accounting). Id. (citing, inter alia, 1 D. Dobbs, Law

of Remedies § 1.2 (1993)); 1 D. Dobbs, Law of Remedies §§ 2.1(1)–(2) (comparing

declaring a defendant’s debt or obligation (legal relief) with commanding the

defendant to do or refrain from a specific act (equitable relief)). The remedy sought

by Fox—awarding an insured the amount of a reasonable settlement resulting from

the insurer’s breach of its duty to defend or duty to settle—is more akin to merely

declaring Admiral’s debt or monetary obligation to Wexford resulting from

breaching its obligations, instead of commanding Admiral to do or refrain from a

specific act. See 1 D. Dobbs, Law of Remedies §§ 2.1(1)–(2), 2.6(3). In essence, Fox

seeks money damages, an adequate remedy at law.

      Another distinction between the two forms of relief is that, traditionally,

equitable relief is discretionary and legal relief is not. Int’l Fin., 356 F.3d at 736; 1

D. Dobbs, Law of Remedies § 2.1(1) (“One other striking characteristic of equity and



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equitable remedies is a high degree of discretion. The legal system . . . emphasizes

rights. The equity system treats access to its remedies as at least in part a privilege.

Even if a plaintiff makes out a case for relief according to all the preexisting rules,

the court of equity may in its discretion refuse its aid.”). If the Fox-Wexford

settlement is determined to be reasonable, and if Admiral breached its contractual

duties or its tort duty to settle, awarding Fox (as Wexford’s assignee) the settlement

does not appear to be discretionary. Admiral states that this determination is

discretionary, but has cited no case law suggesting that a judge has the discretion to

decline to award an insured a reasonable, non-collusive settlement entered into

when the insurer breached its obligations. This lack of discretion is another

indication that the relief sought is not an equitable remedy.

      As Admiral points out, however, holding an insurer to a settlement to which

it was not a party, and determining the reasonableness of that settlement, raises

fairness concerns. But this general sense of “equity” as fairness is not the same as

an “equitable” remedy, as understood historically: “When the term ‘equitable’ is

used only to describe the moral basis of a claim or defense, the conclusion that the

claim is equitable has no necessary legal effect on the remedy or on the procedure

. . . . [Such a claim] appeals to ‘the equities,’ the sense of justice. It does not

necessarily involve equity remedies, equitable defenses, or equitable procedures like

the non-jury trial.” 1 D. Dobbs, Law of Remedies § 2.1(3)); see id. § 2.6(3) (“The

substantive or historical approach can easily slip into an almost mystic and




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completely anti-historical approach when courts identify ‘equity’ with justice and

fairness.”).

       The reasonableness determination for an insured’s third-party settlement

does have similarities to the good faith finding required for contribution under the

Illinois Joint Tortfeasor Contribution Act, 740 ILCS 100/2, for which there is no jury

trial right. Under the Contribution Act, an insurer who pays a settlement to release

both its insured and a non-covered tortfeasor can seek contribution from that

tortfeasor, if the settlement was made in good faith and for an appropriate amount.

These reasonableness determinations are similar, but are treated differently by

Illinois courts. Contribution is an equitable doctrine and, in Illinois, “the

Contribution Act is a new statutory right created by the legislature and, as such,

does not confer the right to a jury trial.” Orejel v. York Int’l Corp., 287 Ill.App.3d

592, 602 (1st Dist. 1997). An insured’s reasonable settlement, on the other hand, is

considered money damages for breach of an insurer’s obligations.

       Overall, determining the reasonableness of the insured’s settlement for the

insurer’s breach of its obligations is more like determining reasonable money

damages for breach than it is like finding good faith under the Contribution Act.

       D.      Other Case Law

       The Seventh Circuit has not directly addressed whether a jury must decide

the reasonableness of an insured’s settlement, although it has affirmed at least one

case where the jury determined that an insured’s settlement payment and attorney

fees were reasonable. See A. Kush & Assocs., Ltd. v. Am. States Ins. Co., 927 F.2d

929, 933, 942 (7th Cir. 1991) (jury determined amount of reasonable attorneys’ fees
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and costs expended by insured in litigation where insurer breached duty to defend;

jury also determined that insurer owed insured $40,000 in settlement costs).

      The jury trial right in the insurance settlement context has been addressed

by very few federal courts. Admiral points to American Casualty Co. of Reading,

Pennsylvania v. Kemper, No. CV-07-1149-PHX-GMS, 2009 WL 1749388 (D. Ariz.

June 18, 2009), which concluded that a reasonable settlement award was an

equitable claim and remedy for which there was no jury trial right. In Kemper, the

court determined that the claim at issue was “equitable” because it was brought in a

declaratory judgment action, which the court believed was a “creatur[e] of equity,”

and because settlement reasonableness “rests on traditional concerns of fairness.”

2009 WL 1749388, at *2. But the Kemper analysis is not persuasive. Fox’s action

against Admiral is not a declaratory judgment action; even if it were, it is well-

settled under Seventh Circuit law that declaratory judgments are “neither legal nor

equitable,” but instead the nature of the underlying dispute determines whether a

jury trial is available. Marseilles Hydro Power, LLC v. Marseilles Land & Water Co.,

299 F.3d 643, 649 (7th Cir. 2002) (quoting         Gulfstream Aerospace Corp. v.

Mayacamas Corp., 485 U.S. 271, 284 (1988)). Moreover, a claim evoking “traditional

concerns of fairness” does not bear on whether a specific remedy is “equitable” or

was historically found in courts of equity. See, e.g., 1 D. Dobbs, Law of Remedies §§

2.1(3), 2.6(3). Notably, the Kemper court did not address the key distinctions

between legal remedies and equitable remedies, including money damages (legal),




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coercive and directly enforceable relief (equitable), and discretionary relief

(equitable). See Int’l Fin., 356 F.3d at 736.

      Kemper and Admiral both rely on a state-court case, Alton M. Johnson Co. v.

M.A.I. Co., 463 N.W.2d 277 (Minn. 1990), which found the issue to be equitable and

for the court. But a review of Alton M. Johnson—which did not apply federal

procedural law—shows that the Minnesota Supreme Court viewed actions over

these types of settlements not as damages for breach of contract or the duty to settle

but “as an action to enforce an agreement against an indemnifier who was not a

party to the agreement.” 463 N.W.2d at 279. Like the court in Kemper, the Alton M.

Johnson court also held that these claims sound in equity because the

decisionmaker was “being asked to apply its sense of fairness to evaluate a

compromise of conflicting interests, a characteristic role for equity.” Id.

      The reasoning in Alton M. Johnson does not reflect the Illinois case law

holding that these settlements are damages for breach of the insurer’s obligations,

and does not address the distinctions between legal and equitable remedies. The

other state-law cases cited by Admiral are not persuasive for similar reasons, or

because the settlement right in that state was created by statute, or because the

issue of the right to a jury trial was not actually analyzed in the opinion. For

example, Orejel, 287 Ill.App.3d at 602, and Ewanic v. Pepper Construction Co., 305

Ill.App.3d 564, 570 (1st Dist. 1999), held that there was no jury trial right on an

insured’s right to contribution from a joint tortfeasor for the insured’s settlement

with the injured third party. These claims were brought under the Contribution



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Act, but statutory and contribution rights are not at issue for the Wexford-Fox

settlement. These cases are inapplicable.

        Admiral also cites to another federal case, Midwestern Indemnity Co. v.

Laikin, 119 F.Supp.2d 831 (S.D. Ind. 2000), which did not look to federal procedural

law, but instead stated its belief that “the Supreme Court of Indiana would instruct

trial courts to resolve a challenge to the reasonableness of a consent judgment with

a covenant not to execute.” Id. at 844. But the Laikin opinion also recognized that,

while some states (e.g., Minnesota) have settlement reasonableness tried to a court,

“[t]he Indiana courts are not likely to adopt that approach of taking such an issue

away from a jury where it is genuinely disputed, but they would set a high bar

before allowing an insurer who, by definition, has breached its duty to its insured,

to impose such a trial on the parties who thought they had settled their dispute.” Id.

at 845.7

        The Kemper opinion also analogized to the reasonableness determination for

attorney fee awards, which is traditionally left to the court. But freestanding breach

of contract claims for attorneys’ fees can be triable to a jury. See, e.g., J.R. Simplot

v. Chevron Pipeline Co., 563 F.3d 1102, 1116–19 (10th Cir. 2009) (action for

reasonable attorneys’ fees incurred in defending underlying litigation was triable to

7 The other federal case cited by Admiral, Home Federal Savings Bank v. Ticor Title
Insurance Co., 695 F.3d 725 (7th Cir. 2012), did not address the jury trial issue but just
generally quoted 7C Appleman, Insurance Law & Practice § 4714 as stating: “A settlement
made by the insured of a pending action must be reasonable; and the court will examine the
merits of the claim to determine that question.” Id. at 736. This section in Appleman,
however, made that statement in passing and did not address the issue in the context of the
right to a jury trial. A review of the district court docket in Home Federal shows that no
jury demand was made.


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a jury because it was “at bottom, a legal action for compensatory damages resulting

from a breach of contract,” and “[t]hat the measure of damages happens to be

attorneys’ fees does not in and of itself change the nature of [the] claim); see also

Simler, 372 U.S. at 223 (jury trial required to determine and adjudicate the amount

of “reasonable” fees owed to a lawyer by a client under a contingent fee retainer

contract, which was a traditionally legal action).

        Although few federal courts have specifically addressed whether a jury must

decide settlement reasonableness, many federal circuit courts—including the

Seventh Circuit—have addressed appeals where settlement reasonableness is

presented to jury, and none of the circuit courts commented that it was an unusual

or inappropriate approach.8 See, e.g., A. Kush & Assocs., 927 F.2d at 933, 942; Mid-

Continent Cas. Co. v. Am. Pride Bldg. Co., LLC, 534 Fed. App’x 926, 927–28 (11th

Cir. 2013); Vermont Mut. Ins. Co. v. Maguire, 662 F.3d 51, 54–55 (1st Cir. 2011);

Crawford v. Infinity Ins. Co., 64 Fed. App’x 146, 147–48, 151 (10th Cir. 2003);

Atchison, Topeka & Santa Fe Ry. Co. v. Sherwin-Williams Co., 963 F.2d 746, 749

(5th Cir. 1992).

        Determining whether an insured’s settlement is reasonable is most similar to

determining money damages for an insurer’s breach of contract and therefore most




8 There are also instances where the issue was left to the court, and there was no
commentary either. See, e.g., Chicago Title Ins. Co. v. IMG Exeter Assocs. Ltd. P’ship, 985
F.2d 553 (Table) (4th Cir. 1993) (affirming court’s judgment that settlement was reasonable
and could be recovered for breach of an indemnity agreement).


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similar to an action at law seeking a legal remedy. Fox has the right to a jury trial

on this issue.

III.   Conclusion

       The motion to reconsider [156] is granted in part. The opinion and order

ruling on the cross-motions for summary judgment is revised to clarify that Fox

must establish that Wexford settled in reasonable anticipation of liability in order

to hold Admiral liable under its duty to indemnify. The motion is denied in all other

respects. Fox has a Seventh Amendment right to a jury trial on the question of the

reasonableness of the Fox-Wexford settlement.

ENTER:

                                              ___________________________
                                              Manish S. Shah
                                              United States District Judge
Date: 6/28/16




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